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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-1661-WJM-MEH
  Consolidated with 17-cv-1679-WJM-MEH

  SIERRA CLUB; ELYRIA AND SWANSEA NEIGHBORHOOD ASSOCIATION; CHAFFEE
  PARK NEIGHBORHOOD ASSOCIATION; and COLORADO LATINO FORUM,

  Plaintiffs,

  v.

  FEDERAL HIGHWAY ADMINISTRATION, ELAINE CHAO, in her official capacity as
  Secretary of Transportation; and JOHN M. CARTER, in his official capacity as Division
  Administrator, Defendants,

  v.

  COLORADO DEPARTMENT OF TRANSPORTATION, and SHAILEN P. BHATT, in his
  official capacity as Executive Director of the Colorado Department of Transportation,

  Defendant-Intervenors.
                                   EXHIBIT 32
                 FIRST DECLARATION OF DR. GREGORY ROWANGOULD
                                 (Case No. 17-cv-1679-WJM-MEH)

   ROBERT E. YUHNKE (CO Bar No. 12686)          GREGORY N. CORBIN (CO Bar No. 48468)
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   Gresham, OR 97080                            1627 Vine St.
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   agelfuso6@gmail.com                          COUNSEL FOR PETITIONERS
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                           DR. GREGORY ROWANGOULD, PHD
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                  Ph. (505) 277-1973 • rowangould@unm.edu • www.unm.edu/~rowangould

  EDUCATION
  PhD     University of California, Davis (2010)
          Civil and Environmental Engineering: concentration in Transportation
          Dissertation: “A Spatially Detailed Locomotive Emission Model and Goods Movement Data
          Constraints on Public Policy and Planning”
  MS      University of Maine, Orono (2006)
          Resource Economics and Policy: concentration in Environmental Economics
          Thesis: “A Spatial Analysis of Passenger Vehicle Attributes, Environmental Impact and Policy”
  BS      University of Maine, Orono (2003)
          Chemical Engineering
  PROFESSIONAL EXPERIENCE
  University of New Mexico, Albuquerque, NM                                               (8/2012 – current)
  Assistant Professor, Department of Civil Engineering
  Director of the New Mexico Local Technical Assistance Program
  Sustainable Systems Research, LLC, Davis, CA                                            (5/2017 – current)
  Principle
  Natural Resources Defense Council, Santa Monica, CA                                     (7/2010 – 7/2012)
  Transportation and Air Quality Science Fellow
  University of California, Davis, CA                                                     (9/2006 – 7/2010)
  Research Assistant, Department of Civil & Environmental Engineering
  University of California, Davis, CA                                                     (3/2009 – 6/2009)
  Teaching Assistant, Department of Civil & Environmental Engineering                     (3/2010 – 6/2010)
  University of Maine, Orono, ME                                                          (9/2004 – 8/2006)
  Research Assistant, Department of Resource Economics & Policy and the Margaret
  Chase Smith Policy Center
  CONSULTING EXPERIENCE
  Freedman Boyd Hollander Goldberg Urias & Ward P.A., Albuquerque, NM                      (5/2016 – 8/2016)
  ICF Incorporated, LLC, Fairfax, VA                                                      (5/2014 – 12/2014)
    Provided consulting services to ICF for a Federal Highway Administration and
    Centers for Disease Control project to develop a community health risk tool. Project
    website and tool available at http://www.transportation.gov/transportation-health-
    tool/indicators
  United States Environmental Protection Agency, Anne Arbor, MI.                         (11/2013 – 12/2013)
    Provided a scientific review of a US EPA sponsored air quality research project
  Communities for a Better Environment, Huntington Park, CA.                              (11/2011 – 8/2012)
    Provided transportation planning and air quality consulting services to Communities
    for a Better Environment
  The Ride for Roswell, Buffalo, NY                                                        (4/2011 – 6/2011)
    Pro bono consulting, bicycle traffic modeling and planning for a charitable
    community bicycle ride
  Pew Center on Global Climate Change, Washington, D.C.                                   (12/2008 – 8/2009)
    Consultant, developed a research report investigating the GHG mitigation potential
    for domestic and international marine shipping and aviation
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  NATIONAL/REGIONAL/LOCAL SERVICE
  2017 International Cycling Safety Conference, University of California, Davis, CA
   Member of the Scientific Committee and Session Chair                            (9/20/2017-9/23/2017)
  Transportation and Air Quality Committee (ADC20), Transportation Research Board of the National
  Academies, Washington, D.C.
  Committee Member & Research Subcommittee Vice Chair                             (5/2017 – current)
  Committee Member & Paper Review Co-Chair                                        (4/2014 – 4/2017)
  Transportation Research Part D: Transport and Environment (TRD), Elsevier Ltd.
  Member of the Editorial Board                                                  (1/2017 – current)
  Transportation Research Board Annual Meeting Workshop, Integrated Land-use, Travel Demand, Air
  Quality & Exposure Modeling: The Future of Regional Transportation Planning?
  Organizer, Co-Chair and Moderator                                                    (1/11/2015)
  National Cooperative Highway Research Program, Transportation Research Board of the National
  Academies, NCHRP Project 08-102 – Bicycle Facility Preferences and Effects on Increasing Bicycle Trips
   Panel Member                                                                         (10/2014 – current)
  Sustainable Cities and Society (SCS), Elsevier Ltd.
   Member of the Editorial Board                                                              (10/2014 – 2/2018)
   Editor of Special Edition on Transportation                                               (2/1/2016 – 8/2017)
  Central New Mexico Climate Change Scenario Planning Project, US Department of Transportation &
  Mid-Region Council of Governments
   Member, Mitigation Technical Committee                                      (11/2013 – 6/2014)
  Statewide Public Health, Safety, and Security Working Group, New Mexico Department of
  Transportation
   Working Group Member                                                         (11/2013 – 10/2015)
  Land-Use Transportation Integration Committee, Mid-Region Council of Governments, Albuquerque,
  NM
   Committee Member                                                            (12/2012 – 6/2014)
  AWARDS AND RECOGNITION
  Young Professional Runner-Up Best Paper Award, Environmental Management Group, Air & Waste
  Management Association 108th Annual Conference, Raleigh, NC, June 25, 2015
  Best Paper Award, Civil Engineering Department, University of New Mexico, Spring 2015 & Fall 2017
  Young Professional Best Paper Award, Environmental Management Group, Air & Waste Management
  Association 107th Annual Conference, Long Beach, CA, June 25, 2014
  PEER REVIEWED JOURNAL PAPERS
  Rowangould, G., R. Nadafianshahamabadi*, and A. Poorfakhraei*.(in press). Programming Flexible Congestion
    Mitigation and Air Quality Program Funds: Best Practices for State DOTs. Transportation Research Record:
    Journal of the Transportation Research Board of the National Academies.
  Dana, R., G. Rowangould, and D. Niemeier. (in press). Evaluation of the Health Impacts of Rolling Back a Port
    Clean Trucks Program. Transportation Research Record: Journal of the Transportation Research Board of
    the National Academies.
  Poorfakhraei, A*., M. Tayarani*, and G. Rowangould. (2017). Evaluating Health Outcomes from Vehicle Emissions
    Exposure in the Long Range Regional Transportation Planning Process. Journal of Transport & Health. 6: 501-515.

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     Comparing Community and Expert Assessments of a Transportation Project. Sustainable Cities and Society.
     doi:10.1016/j.scs.2016.08.027
   Tayarani, M*., A. Poorfakhraei*, R. Nadafianshahamabadi*, and G. Rowangould. (2016). Evaluating
      unintended outcomes of regional smart-growth strategies: Environmental justice and public health
      concerns. Transportation Research Part D: Transport and Environment 49, 280–290.
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   Rowangould, G. and M. Tayarani* (2016). The Effect of Bicycle Facilities on Travel Mode Choice Decisions. ASCE
     Journal of Urban Planning and Development. doi: 10.1061/(ASCE)UP.1943-5444.0000341
   Poorfakhraei, A.* and G. Rowangould (2015). Estimating Welfare Change Associated with Improvements in Urban
     Bicycling Facilities. ASCE Journal of Transportation Engineering. 141(11): 04015025.
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     Motor Vehicles. Transportation Research Part D: Transport and Environment. 34: 307-317.
   Rowangould, G. (2013). Public Financing of Private Freight Rail Infrastructure to Reduce Highway Congestion: A Case
     Study of Public Policy and Decision Making in the United States. Transportation Research Part A: Policy and
     Practice. 57: 25-36.
   Rowangould, G. (2013). A Census of the United States Near-Roadway Population: Public Health and Environmental
     Justice Considerations. Transportation Research Part D: Transport and Environment. 2: 59-67.
   Gould, G. and D. Niemeier (2011). Assignment of Emissions Using a New Locomotive Emissions Model.
     Environmental Science and Technology. 45(13): 5846- 5852.
   Gould, G. and A. Karner (2009). Modeling Bicycle Facility Operation: a Cellular Automaton Approach.
     Transportation Research Record: Journal of the Transportation Research Board of National Academies.
     2140: 157-164.
   Gould, G. and D. Niemeier (2009). Review of Regional Locomotive Emission Modeling and the Constraints Posed by
     Activity Data. Transportation Research Record: Journal of the Transportation Research Board of the
     National Academies. 2117: 24-32.
   Niemeier, D., G. Gould, A. Karner, M. Hixson, B. Bachmann, C. Okma, Z. Lang and D. Heres Del Valle
      (2008). Rethinking downstream regulation: California’s opportunity to engage households in reducing greenhouse gases.
      Energy Policy, 36(9)
   *Students advised by Dr. Rowangould
   PEER REVIEWED CONFERENCE PAPERS
   Montano, S*. and G. Rowangould. (January 9th, 2018). Evaluating the Role of Federal Transportation Funding
     Flexibility and Investments in Bicycle and Pedestrian Infrastructure. Presentation at the Transportation Research
     Board 97th Annual Meeting, Washington, D.C.
   Mohammad, T*., R. Nadafianshahamabadi*, A. Poorfakhraei* and G. Rowangould. (January 9th, 2018).
     Evaluating the Cumulative Air Quality Impacts of a Long Range Regional Transportation Plan. Presentation at the
     Transportation Research Board 97th Annual Meeting, Washington, D.C.
   Rowangould, G., R. Nadafianshahamabadi, and A. Poorfakhraei*. (January 9th, 2018). Programming Flexible
     Congestion Mitigation and Air Quality Program Funds: Best Practices for State DOTs. Presentation at the
     Transportation Research Board 97th Annual Meeting, Washington, D.C.
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     Washington, D.C.

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   Nadafianshahamabadi, R.* and G. Rowangould (January 10, 2017). Evaluating Sustainability in Transportation
     Plans: Review of Long-Range Transportation Plans in the United States. Presentation at the Transportation
     Research Board 96th Annual Meeting, Washington, D.C.
   Tayarani. M*, A. Poorfakhraei* and G. Rowangould (January 10, 2017). Can Regional Transportation and Land-
      Use Planning Reduce GHG Emissions? Presentation at the Transportation Research Board 96th Annual
      Meeting, Washington, D.C.
   Rodriguez, M.* and G. Rowangould (January 11, 2017). The Current State of Sidewalk ADA Compliance and
     Alternative Funding Methods for Albuquerque, NM. Presentation at the Transportation Research Board 96th
     Annual Meeting, Washington, D.C.
   Tayarani. M*, A. Poorfakhraei*, and Rowangould, G. (August 4, 2016). Can Regional Transportation and Land-
      Use Planning Reduce GHG Emissions? Presented at the Transportation Research Board Summer Conference
      on Transportation Planning and Air Quality, Minneapolis, MN.
   Tayarani. M*, A. Poorfakhraei*, and Rowangould, G. (August 5, 2016). Quantifying the Air Quality &
      Congestion Benefits of Bicycle Facilities. Presented at the Transportation Research Board Summer Conference
      on Transportation Planning and Air Quality, Minneapolis, MN.
   Nadafianshahamabadi, R.*, M. Tayarani*, and G. Rowangould (January 12, 2016). Differences in Expertise and
     Values: Comparing Community and Expert Assessments of a Transportation Project. Presentation at the
     Transportation Research Board 95th Annual Meeting, Washington, D.C.
   Moreno, S. A.*, R. R. Gade*, and G. Rowangould (January 13, 2016). Investigating Pedestrian Crash Risk in
     Albuquerque, New Mexico. Presentation at the Transportation Research Board 95th Annual Meeting,
     Washington, D.C.
   Tayarani, M.*, A. Poorfakhraei*, R. Nadafianshahamabadi*, and G. Rowangould (January13, 2016). Large-
      Scale, High-Resolution Air Quality Modeling Framework to Evaluate Environmental Justice in Long-Range
      Transportation Planning. Presentation at the Transportation Research Board 95th Annual Meeting,
      Washington, D.C.
   Poorfakhraei, A.*, and G. Rowangould (January 11, 2016) Evaluating Mobile-Source Air Pollution Exposure,
     Equity, and Health Risks in Long-Range Regional Transportation Plans. Presentation at the Transportation
     Research Board 95th Annual Meeting, Washington, D.C.
   Rowangould, G., A. Poorfakhraei*, and M. Tayarani* (June 24, 2015). A New Approach for Evaluating Regional
     Exposure to Particulate Matter Emissions from Motor Vehicles. Presented at the Air & Waste Management
     Association Annual Conference, Raleigh, NC
   Poorfakhraei, A.* and G. Rowangould (January 14, 2015). Economic Valuation of Improvements in Urban Cycling
     Facilities. Presented at the Transportation Research Board 94th Annual Meeting, Washington, D.C.
   Rowangould, G. and M. Tayarani* (January 12, 2015). The Effect of Bicycle Paths on the Decision to Commute by
     Bicycle. Presented at the Transportation Research Board 94th Annual Meeting, Washington, D.C.
   Tayarani, M.* and G. Rowangould (January 12, 2015). Quantifying the Air Quality and CongestionBenefits of Bicycle
      Facilities: A Case Study from Albuquerque New Mexico. Presented at the Transportation Research Board 94th
      Annual Meeting, Washington, D.C.
   Rowangould, G. (March 3, 2014). Using AERMOD for Regional Transportation Planning: Exposure Analysis,
     Environmental Justice, and Pro-Active Hot-spot Analysis. Presented at the Transportation, Land Use Planning,
     and Air Quality Conference, Charlotte, NC
   Rowangould, G. (June 25, 2014). Regional Long Range Transportation Plan Air Quality and Exposure Analysis.
     Presented at the Air & Waste Management Association 107th Annual Conference, Long Beach, CA


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   Rowangould, G. and J. Luna (January 2014). Does Dedicated Bicycle Infrastructure Reduce Motorized Vehicle Trips?
     Results from the Albuquerque Bicycle Travel Study. Presented at the Transportation Research Board 93rd Annual
     Meeting, Washington, D.C.
   Gould, G. and S. Contreras* (January 15, 2013). Regional Scale Dispersion Modeling and Analysis of Directly Emitted
     Fine Particulate Matter from Highway Vehicles Using AERMOD. Presented at the Transportation Research
     Board 92nd Annual Meeting, Washington, D.C.
   Gould, G. (January 15, 2013). A Census of the U.S. Near Roadway Population: Particulate Matter Exposure,
     Environmental Justice, and Coverage of the Air Quality Monitoring Network. Presented at the transportation
     Research Board 92nd Annual Meeting, Washington, D.C.
   Gould, G. and D. Niemeier (January 12, 2010). A Geographically Detailed Locomotive Emission Model. Presented at
     the Transportation Research Board 89th Annual Meeting, Washington, D.C.
   Gould, G. and A. Karner (January 14, 2009). Modeling Bicycle Facility Operation: a Cellular Automaton Approach.
     Presented at the Transportation Research Board 88th Annual Meeting, Washington, D.C.
   Gould, G. and D. Niemeier (January 12, 2009). Review of Regional Locomotive Emission Modeling and the Constraints
     Posed by Activity Data. Presented at the Transportation Research Board 88th Annual Meeting, Washington,
     D.C.
   *Students advised by Dr. Rowangould
   PEER REVIEWED REPORTS AND OTHER PUBLICATIONS
   McCollum, D., G. Gould, and D. Greene (2009). Greenhouse Gas Emissions from Aviation and Marine
     Transportation: Mitigation Potential and Policies. Report prepared for the Pew Center on Global Climate
     Change, Washington D.C.
   OTHER REPORTS AND PUBLICATIONS
   Rowangould, G., R. Nadafianshahamabadi*, A. Poorfakhraei*, S. Bogus Halter (May 2017) Congestion
      Mitigation and Air Quality Program Best Practices Scan, Final Report. Report prepared by the University of New
      Mexico for the New Mexico Department of Transportation, Santa Fe, New Mexico.
   Futures 2040: Metropolitan Transportation Plan, Mid Region Council of Governments, Albuquerque, NM. (G.
      Rowangould was one of many contributors and co-authors, provided technical assistance for travel
      demand modeling and vehicle emission modeling)
   Rowangould, G., M. Tayarani*, and A. Poorafakhraei* (April, 2015). Futures 2040: Metropolitan Transportation
     Plan - Appendix F: GHG Emissions Reduction Strategies, Mid Region Council of Governments, Albuquerque,
     NM.
   Lee, S., Tremble, M. Vaivai, J., Rowangould, G., Tayarani, M.*, Poorfakhraei, A.* (March, 2015). Central New
      Mexico climate change scenario planning project: final report. Report prepared for the U.S. Department of
      Transportation, U.S. Federal Highway Administration and Mid Region Council of Governments.
   Lee, S., M. Tremble, J. Vaivai, Herrington, C., R. Gonzalez-Pinzon, M. Stone, and G. Rowangould
      (December, 2014). Climate Change Effects on Central New Mexico’s Land Use, Transportation System and Key
      Natural Resources. Report prepared by Ecosystem Management Inc. and the University of New Mexico for
      the U.S. Department of Transportation VOLPE Center, Cambridge, MA
   Rowangould, G., M. Tayarani*, and A. Poorafakhraei* (November, 2014) Central New Mexico Climate Change
     Scenario Planning Project: Analysis of Additional Greenhouse Gas Mitigation Strategies. Report prepared by the
     University of New Mexico for the U.S. Department of Transportation VOLPE Center, Cambridge, MA
   Lee, S., M. Tremble, J. Vaivai, Herrington, C., R. Gonzalez-Pinzon, M. Stone, and G. Rowangould (May
      2014) Climate Change Resilience of Land Use, Transportation and Key Natural Resources in Central New Mexico.

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      Report prepared by Ecosystem Management Inc., Sustainable Systems Research LLC. and the University
      of New Mexico for the U.S. Department of Transportation VOLPE Center, Cambridge, MA
   Gould, G. (2012) Analysis of Greenhouse Gas Emission Estimates for the Interstate 710 Corridor Project. Report
     Prepared for Communities for a Better Environment, Huntington Park, CA.
   Gould, G. (2012) Analysis of the Alternatives Selection Process for the Interstate 710 Corridor Project. Report Prepared
     for Communities for a Better Environment, Huntington Park, CA.
   Gould, G. (2012) Physical Separation of the Chicago Area Waterway System: The Economic and Environmental Impact of
     Barge Traffic Disruption. NRDC Working Paper.
   C. Noblet, G. Gould, J. Rubin, D. Innis, and C. Morris (2006). Sustainable Transportation Funding for Maine’s
      Future. Report prepared for the Maine Department of Transportation, Augusta, ME.
   *Students advised by Dr. Rowangould




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                      Exhibit 32
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           Report of Investigation of Receptor Locations Selected for Modeling
                         Emissions of PM10 from the I-70 Project




                                     March 8, 2018




                                      Prepared by:
                             Dr. Gregory Rowangould, PhD
                           Sustainable Systems Research, LLC
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   EXECUTIVE SUMMARY
   This Report describes my findings obtained from an investigation of the publicly available documents
   provided by the Colorado Department of Transportation (“CDOT”) related to the air quality modeling
   performed to determine the ambient air concentrations of particulate matter 10 micrometers in diameter or
   smaller (“PM10”) at identified receptor locations that are expected to result from traffic operations on the
   completed I-70 East (Central) Project – Phase 1 (“Project”).
   “Receptor locations” are the locations selected for outputs from air quality models that estimate
   concentrations of pollutants in the ambient air. The transportation conformity rule requires that –
           Estimated pollutant concentrations must be based on the total emissions burden which may
           result from the implementation of the project, summed together with future background
           concentrations. The total concentration must be estimated and analyzed at appropriate receptor
           locations in the area substantially affected by the project. [40 C.F.R. § 93.123(c)(1)]
   EPA’s Hot-spot Conformity Guidance –
           recommends that receptor sites be placed in sufficient detail to estimate the highest
           concentrations and possible violations of a NAAQS. Receptors should be placed in areas that
           are considered ambient air (i.e., where the public generally has access). Examples of areas
           where receptors should not be placed include a median strip of a highway, a right-of-way on a
           limited access highway, or an approach to a tunnel.
           Receptors should be sited as near as five meters from a source (e.g., the edge of a traffic lane
           or a source in a terminal), except possibly with projects involving urban street canyons where
           receptors may be appropriate within 2-10 meters of a project. 1
   Conclusions
   Receptors were placed in very different arrangements in the FEIS compared to the Conformity
   Determination analyses. The differences are likely to explain a large portion of the difference in modeled
   PM10 concentrations and design value estimates. A number of receptor locations used in the modeling
   performed for the FEIS were removed from the modeling completed for the Conformity Determination.
   Some of these receptors were properly removed because they were located where the public does not have
   access, but other receptors were removed from areas considered ambient air where the public has access.
   Critically, modeling for seven receptors located where the maximum concentration was depicted in the
   Conformity Determination Air Quality Technical Report 2 were missing from the primary AERMOD
   modeling files provided by CDOT. These missing receptors were found in seven separate modeling files.
   Each of the seven receptors was modeled as a “supplemental” modeling run. The “supplemental” modeling
   files contained different emission source parameters that caused AERMOD to produce lower PM10
   concentration estimates at the highest concentration receptors. The Conformity Determination Air Quality
   Technical Report and the additional files provided by CDOT do not indicate why these 7 receptors were
   modeled independently from the 3,525 other receptors considered in the primary modeling run. No
   explanation is provided discussing how or why the emission source parameters were altered.
   SSR added the seven “supplemental” receptors to the primary modeling AERMOD input file and ran
   AERMOD to determine how the altered emission source parameters affected concentrations at the seven
   “supplemental” receptors. This modeling run predicts PM10 concentrations from Project emissions would

   1
     “Transportation Conformity Guidance for Quantitative Hot-spot Analyses in PM2.5 and PM10
   Nonattainment and Maintenance Areas,” U.S. EPA, Office of Transportation Air Quality (EPA-
   420-B-15-084 November 2015), § 7.6.2, p. 116.
   2
     Record of Decision, Attachment C7, Fig. 3, p. 11 (January 2017).
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   be 42 µg/m3 or greater at the “supplemental” receptor locations. These higher concentrations would violate
   the NAAQS when added to the background concentration required by EPA’s Hot-spot Guidance.


   I.   BACKGROUND
   The Colorado Latino Forum (CLF) requested this investigation to determine how changes in receptor
   locations used in the air quality modeling for the Project may have affected the results between the air
   quality modeling performed for the Final Environmental Impact Statement (“FEIS”), published as the Air
   Quality Technical Report, Attachment J to the FEIS, in January 2016, and the Air Quality Conformity
   Technical Report, published as Attachment C7 to the “I-70 East 1: Phase 1 (Central 70 Project) Record of
   Decision” (“ROD”) in January 2017.
   The modeling results for Project emissions of PM10 reported in the Air Quality Technical Report for the
   FEIS (“AQ Technical Report (January 2016)”) showed that Project emissions from Phase 1 of the
   alternative identified in the FEIS as the preferred alternative (lowered covered alternative with managed
   lanes) were expected to add 61 µg/m3 (micrograms of particles per cubic meter of air) to the background
   concentration of PM10. 3 The modeling results for Project emissions reported in the Air Quality Technical
   Report for the Conformity Determination(“Air Quality Conformity Technical Report (January 2017)”)
   required by the Clean Air Act showed that Project emissions from Phase 1 were expected to add 41.136
   µg/m3 to the background concentration of PM10. 4
   CLF was concerned about this 32% reduction in the impact that Project emissions were expected to have
   on ambient air quality because the difference between the two modeling results is the difference between a
   large violation of the national ambient air quality standard (“NAAQS”) for PM10 and compliance with the
   NAAQS. The Clean Air Act conformity regulation requires that the concentration of PM10 contributed by
   the Project be added to the background concentration of PM10 to determine if the Project emissions will
   cause or contribute to a future violation of the NAAQS. 40 C.F.R. §93.123(c)(1). If the combined
   concentrations are below the level of the NAAQS, the project “conforms.”
   For the I-70 Project, U.S. EPA informed the transportation agencies that the monitored background
   concentration of PM10 is 113 µg/m3. When the Project emissions modeled for the FEIS are added, the total
   (113 µg/m3 + 61 µg/m3) equals 174 µg/m3. When emissions modeled for the Conformity Determination are
   added, the total (113 µg/m3 + 41.136 µg/m3) equals 154.136. EPA interprets the NAAQS as allowing
   concentrations not to exceed 154.99 µg/m3.
   CLF requested an investigation of receptor locations because:
        1) the large difference between the emissions modeled for the FEIS and the modeling for the
           Conformity Determination was not acknowledged or explained in the Conformity Determination
           or the Record of Decision; and
        2) changed receptor locations was identified as apparently the most significant of three differences
           between the modeling analyses for the FEIS and the Conformity Determination acknowledged by
           FHWA in the “Air Quality NEPA Comparison.” 5




   3
     See “Air Quality Technical Report (January 2016),” p.78, Table 20. Forecasted PM10 concentrations for the I-
   70/I-25 hotspot analysis (μg/m3): Managed Lanes Option - Partial Cover Lowered Alternative, Phase 1.
   [Attachment 1].
   4
     See “Air Quality Conformity Technical Report (January 2017),” p. 10, Table 2 PM10 Concentrations. [Attachment
   2].
   5
     ROD, Attachment C6, pp. 1-2.

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   One of the three differences identified in the NEPA Comparison was changes in Project design. This change
   was described as “[c]hanges to the project design are minimal, so changes to results of analysis at the air
   quality study area level … would not be noticeable.” 6
   A second acknowledged difference between the modeling analyses was the change in traffic projections
   that resulted from “[r]elease of the 2040 Focus travel demand model by the Denver Regional Council of
   Governments (DRCOG) and subsequent update of the Regional Transportation Plan (RTP) planning
   horizon year and year of peak emissions from 2035 to 2040.” 7
   DRCOG changed the travel demand models, replacing the COMPASS model used to estimate traffic in
   2035, with the FOCUS model used to estimate traffic in 2040. 8 The FOCUS model predicted an overall
   reduction in expected future traffic in 2040 compared to 2035. A comparison of traffic volumes for I-70
   showed a 13.5% reduction in daily traffic volumes on I-70 between I-25 (“Mousetrap”) and the Washington
   Blvd exit, 9 which is the highway segment where every modeling run predicts the highest PM10
   concentrations will occur. This 13.5% reduction in expected traffic volumes does not explain the 32%
   reduction in predicted PM10 concentrations contributed by Project emissions between the air quality model
   run in the FEIS using the 2035 traffic volumes and the model run for the Conformity Determination using
   the 2040 traffic volumes.
   Of the three acknowledged changes between the emissions modeling for the FEIS and the Conformity
   Determination, it appeared that changes in receptor locations must account for a large portion of the change
   in modeled Project concentrations. But unlike the changes in traffic modeling, the specific changes in
   receptor locations were not disclosed, analyzed or explained. For this reason, CLF requested that
   Sustainable Systems Research (“SSR”) investigate the changes in receptor locations to determine which
   receptors were changed, and whether the changes were consistent with EPA Guidance for modeling
   highway project emissions. This investigation could not have been performed by a lay person who lacked
   experience with the application of air quality models, data used as inputs to air quality models, and
   accessing the data contained in air quality modeling data input and output files.
   II. DATA SOURCES AND ANALYSIS PROCEDURES
   SSR began its analysis by evaluating the PM10 modeling methods and results reported in the AQ Technical
   Report (January 2016) and the Air Quality Conformity Technical Report (January 2017). These reports
   state that they followed the same US EPA guidance for receptor placement; however, figures in each report
   indicate different receptor placement patterns (see Figures 1 and 2 below). The figures in each report do
   not have sufficient resolution to determine the exact location of the differences and if they are likely to
   explain a significant portion of the differences in the FEIS and Conformity Determination PM10 modeling
   results. Therefore, SSR also reviewed files provided by CDOT to the Sierra Club on January 5th in response
   to their request for more information on air quality modeling changes.




   6
     ROD, Attachment C6, p. 2.
   7
     ROD, Attachment C6, p. 1.
   8
     See ROD, Attachment C2, “Updates to Traffic Technical Report,” Appendix A “Comparison of 2035 to updated
   2040 DRCOG model volumes on I-70.”
   9
     Id., p. 5, Table 1: Comparison of I-70 Daily Volumes. Travel demand models predicted total (east and westbound)
   traffic volumes on I-70 between I-25 and Washington Boulevard in 2035 (COMPASS Model) as 123,750 trips,
   versus 107,000 trips in 2040 (FOCUS Model). Difference (16,750 trips) = 13.5% reduction between 2035 and 2040.

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                           A                                                          B
   Figure 1. Comparison of PM10 receptor placement as shown in the AQ Technical Report (January
   2016) “A” and the Air Quality Conformity Technical Report (January 2017) “B” for the I-25/I-70
   interchange area.




                           A                                                          B
   Figure 2. Comparison of PM10 receptor placement as shown in the AQ Technical Report (January
   2016) “A” and the Air Quality Conformity Technical Report (January 2017) “B” for the I-225/I-70
   interchange area.
   The files provided by CDOT in response to the Sierra Club request included various emission factor and
   air quality modeling input and output files used in the modeling for the Conformity Determination analysis.
   Included in the files provided by CDOT were output files for AERMOD, which is the US EPA air quality
   model that was used to estimate the Project’s contribution to PM10 concentrations at each receptor location.
   The AERMOD output files provide the geographical coordinates of each receptor along with the modeled
   concentrations. SSR requested and received from CDOT the corresponding AERMOD input and output


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   files for the FEIS analysis so that the locations and concentrations of each receptor from the FEIS and
   Conformity Determination modeling could be compared in more detail. A list of AERMOD files used in
   SSR’s analysis is provided in Appendix A.
   SSR plotted the location of each receptor from each analysis using ArcGIS geographical information
   software, which allows the receptors to be plotted over an aerial image of the project area. This allowed
   SSR to compare the relative locations of each receptor and their alignment to the segments of the current I-
   70, I-25, and I-225 rights of way included in the project area. SSR also plotted the location of the maximum
   receptors at the I-70/I-25 and I-70/I-225 hotspot areas for both the FEIS and Conformity Determination
   modeling. To determine the maximum receptor for the FEIS modeling, SSR aggregated the results of all
   modeling outputs provided by CDOT because separate modeling runs were conducted for the truck stop,
   covered portion of the highway, and the remaining travel lanes for each year of the five year analysis.
   III. RECEPTOR COMPARISON RESULTS
   The comparison shows that placement of receptors varied substantially between the Conformity
   Determination and FEIS modeling. In general, the receptors in the Conformity Determination analysis
   were closer to the roadway than the receptors in the FEIS analysis (Figures 3 and 4), with some exceptions.
   For example, along the entrance ramp from northbound I-25 onto I-70 eastbound and south and west of the
   I-70/I-225 interchange. The FEIS modeling also contained dense receptor networks along several arterial
   roads while the Conformity Determination modeling did not. The FEIS modeling also excluded receptors
   along I-25, I-225, and I-70 where some arterial roadways intersected with these highways, which results in
   significant gaps in the receptor network along these highways in areas that are accessible to the public.
   Furthermore, the locations of the maximum receptors are in very different locations (indicated by yellow
   circles with plus signs in Figures 3 and 4).




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   Figure 3. Conformity Determination and FEIS PM10 Receptor Location Comparison at the I-70/I-25
   interchange.




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   Figure 4. Conformity Determination and FEIS PM10 Receptor Location Comparison at the I-70/I-
   225 interchange.
   The Conformity Determination analysis receptor placement appears to have been performed much more
   carefully than that for the FEIS. For example, the first row of receptors along the project were placed exactly
   at the highway right-of-way fence line while the FEIS receptors were in some places located within the
   fence line or on the roadway (they were also placed in other odd arrangements). The Conformity
   Determination analysis receptor placement appears to follow US EPA guidelines, with the exceptions noted
   below, while the FEIS receptor placement does not. Since concentrations along roadways decline rapidly
   with increasing distance from the edge of the roadway, the relatively large differences in receptor placement
   is likely to result in significant differences in modeled PM10 concentrations and the calculation of design
   values for the Project.
   While completing the above comparison, SSR also identified seven receptors that were modeled with seven
   separate AERMOD input files – one file for each of the seven receptors. These separate input files were
   labeled as “supplemental” modeling runs in the AERMOD input and output files provide by CDOT to the
   citizens who requested the files. In Figure 5, the red dots are the receptors from the “primary” AERMOD
   input file that contained most of the receptors and the yellow dots are the receptors from the “supplemental”
   modeling files. The supplemental receptors and modeling results are included in the Conformity
   Determination analysis but are not identified as being “supplemental” or in any way different than the other
   receptors that were considered in the analysis. However, an inspection by SSR of the “supplemental”
   AERMOD input files finds that AERMOD emission source parameters have been changed from those in
   the “primary” AERMOD input file. The “supplemental” AERMOD input files include higher emission


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   release heights for some highway segments near the “supplemental” receptors 10. The same highway
   segments in the “primary” and “supplemental” AERMOD modeling runs have different release heights.
   Higher release heights will reduce the modeled concentration at receptors near the highway because a higher
   emission source provides more time for emissions to disperse before they reach receptors. No explanation
   for the “supplemental” modeling runs or alteration to release heights is provided in the modeling files
   provided by CDOT to the Sierra Club or in the Conformity Determination analysis.
   U.S. EPA’s Hot-spot Guidance 11 includes instructions for estimating the release heights to be used in
   AERMOD when modeling traffic. The release heights used in the “primary” modeling run appear to be
   consistent with this Guidance. Because the changes in release heights between the “primary” modeling run
   and the “supplemental” runs are not described, SSR was only able to determine that the release heights
   were changed. No information is provided to allow a determination of how the release heights used in
   supplemental runs differ from EPA’s guidance.




   Figure 5. Location of “Supplemental” receptors.
   IV. AERMOD MODELING RESULTS AT MISSING RECEPTOR LOCATIONS
   The “supplemental” receptors are located where the highest modeled PM10 concentrations from the
   Conformity Determination analysis occur, including the maximum receptor that was used in the design

   10
     Where release heights differ between the primary and supplemental modeling run, in almost all cases they are higher
   in the supplemental modeling runs. Very few release heights are lower in the supplemental runs.
   11
     “Transportation Conformity Guidance for Quantitative Hot-spot Analyses in PM2.5 and PM10
   Nonattainment and Maintenance Areas,” U.S. EPA, Office of Transportation Air Quality,
   Appendix J, §3.3.
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   value calculations. The modeling results used to make the Conformity Determination finds that the design
   value marginally meets the 24-hour PM10 NAAQS. If the maximum receptor concentration were just 0.864
   µg/m3 higher the design value would exceed the 24-hour PM10 NAAQS.
   SSR performed additional modeling to evaluate how the change in release heights affected the
   concentrations at the “supplemental” receptors. SSR updated the “primary” AERMOD input file for the
   preferred alternative provided to the Sierra Club (AERMOD-V I-70 & I-25 Phase 1 ML.inp) to include the
   coordinates of the omitted seven “supplemental” receptors. The “primary” modeling input file contains the
   release heights that were used for all but the seven “supplemental” receptors (i.e., for the red dots in Figure
   5). SSR then ran AERMOD with the updated input file to estimate the concentration required by EPA’s
   Hot-spot Guidance to be used to calculate the design value for the Project (i.e., the 6th highest concentration
   over a 5-year period at each additional receptor). The concentrations from SSR’s modeling for the seven
   “supplemental” receptors were then compared with those from the Conformity Determination analysis
   (Figure 6). The results find that the increase in release heights in the “supplemental” modeling runs
   decreased concentrations at the "supplemental” receptors by approximately 2 µg/m3. SSR’s modeling
   produced concentrations at the “supplemental” receptors that ranged from 41.9 µg/m3 to 43.2 µg/m3.
   Concentrations greater than or equal to 42 µg/m3 would result in the Project violating the 24-hour PM10
   NAAQS conformity test. Had the “supplemental” receptors been modeled using the same parameter
   settings as the other 3,525 receptors, the design value would have exceeded the 24-hour PM10 NAAQS.




   Figure 7 Missing receptor 6th highest PM10 concentrations (µg/m3) modeled by SSR. Red crosshairs
   mark missing receptor locations.


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   APPENDIX A: FILES USED IN SSR’S RECEPTOR COMPARISON
   “Primary” AERMOD output files for the Conformity Determination provided to the Sierra Club by CDOT:
      •   AERMOD-V_I-70_I-25_Phase1ML2040_PM10_5yrAvg24hr.plt (file produced on 11/5/2016)
      •   AERMOD-V_I-70_I-225_Phase1ML2040_PM10_5yrAvg24hr.plt (file produced on 10/30/216)
   “Supplemental” AERMOD output files for the Conformity Determination provided to the Sierra Club by
   CDOT:
      •   AERMOD-V_I-70_I-25_Phase1ML2040_PM10_5yrAvg24hr_SR1.plt (file produced on
          11/1/2016)
      •   AERMOD-V_I-70_I-25_Phase1ML2040_PM10_5yrAvg24hr_SR2.plt (file produced on
          11/1/2016)
      •   AERMOD-V_I-70_I-25_Phase1ML2040_PM10_5yrAvg24hr_SR3.plt (file produced on
          11/1/2016)
      •   AERMOD-V_I-70_I-25_Phase1ML2040_PM10_5yrAvg24hr_SR4.plt (file produced on
          11/1/2016)
      •   AERMOD-V_I-70_I-25_Phase1ML2040_PM10_5yrAvg24hr_SR5.plt (file produced on
          11/1/2016)
      •   AERMOD-V_I-70_I-25_Phase1ML2040_PM10_5yrAvg24hr_SR6.plt (file produced on
          11/1/2016)
      •   AERMOD-V_I-70_I-25_Phase1ML2040_PM10_5yrAvg24hr_SR7.plt (file produced on
          11/1/2016)


   AERMOD output files for the FEIS provided to SSR by CDOT:
      •   I70_I25_Phase1Cover_90.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1Cover_91 (file produced on 5/23/2015, file extension missing)
      •   I70_I25_Phase1Cover_92.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1Cover_93.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1Cover_94.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Area_SB90v2.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Area_SB91v2.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Area_SB92v2.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Area_SB93v2.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Area_SB94v2.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Pit_SB90.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Pit_SB91.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Pit_SB92.plt (file produced on 5/23/2015)
      •   I70_I25_Phase1B_Pit_SB93.plt (file produced on 5/29/2015)
      •   I70_I25_Phase1B_Pit_SB94.plt (file produced on 5/23/2015)
      •   Phase1B_225_SB90.plt (file produced on 5/29/2015)
      •   Phase1B_225_SB91.plt (file produced on 5/29/2015)
      •   Phase1B_225_SB92v2.plt (file produced on 5/29/2015)
      •   Phase1B_225_SB93.plt (file produced on 5/29/2015)
      •   Phase1B_225_SB94.plt (file produced on 5/29/2015)


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